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                         IN THE UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION

ARMANDO AGUILAR MORALES, on                   §
behalf of himself and his minor daughter      §
J.J.A.R., and PEDRO RAMOS PEREZ on            §
behalf of himself and his minor son F.R.I.,   §
                                              §
       Plaintiffs,                            §
                                              §
v.                                            §      CIVIL ACTION NO. 3:23-CV-00247-KC
                                              §
THE UNITED STATES OF AMERICA,                 §
                                              §
       Defendant,                             §


                     PLAINTIFF’S RESPONSE AND NON-OPPOSITION TO
                            DEFENDANT’S MOTION TO STAY

       Plaintiffs hereby notifies the Court that they do not oppose Defendant’s motion under the

following circumstances:

                                              FACTS

       Plaintiffs filed their Original Complaint on June 28, 2023. [ECF No. 1]. Defendant sought

and received a month-long extension to file their responsive pleading in this matter on or about

August 7, 2023. [ECF No. 11]. Defendant’s motion to dismiss was entered into the docket on

October 3, 2023. [ECF No. 13].

       Defendant filed an Opposed Motion for a Protective Order to Stay Discovery and

Scheduling Recommendations, seeking a stay of discovery and the scheduling order. [ECF No.

15]. Defendant sought Plaintiffs’ agreement on this stay. Plaintiffs stated they would agree not to

oppose Defendant’s motion so long as Defendant agencies would produce in a reasonable time the
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following limited set of documents notwithstanding a stay of discovery so that they can review

those items while the motion to dismiss is being considered by the Court:

    1. For Plaintiff F.R.I.:

          A. ORR File
          B. A-File1
    2. For Plaintiff Pedro Ramos Perez:

            A. A-File

          Plaintiffs believe these are sets of documents which are organized in a way that should be

easy to obtain and produce. Moreover, they are documents that only pertain to Plaintiffs themselves

and would allow Plaintiffs to review their own institutional files during the time that the case is

stayed.

          Defendant filed its Motion for Stay before stating whether it would agree or oppose to

Plaintiffs’ proposal. However, on October 25, 2023, Defendant stated that it would produce the

above-referenced documents in a reasonable time period assuming Plaintiffs can agree to a twenty-

one page confidentiality order.

          Plaintiffs negotiated with Defendant over the confidentiality order and it was entered today,

November 9, 2023.

          As a result of this agreement, Plaintiffs do not intend to oppose Defendant’s motion for

stay.

                                                Respectfully submitted,

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                                                El Paso, Texas 79902
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1
 The A-file is shorthand for the U.S. government’s immigration file for foreign-born, noncitizen
immigrants. It is generally held in one location.
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                                            /s/ Christopher Benoit
                                            Christopher Benoit
                                            Texas Bar No. 24068653
                                            chris@coylefirm.com

                                            and

                                            Julie R. Ulmet (pro hace vice application pending)
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                                            ATTORNEYS FOR PLAINTIFFS


                                CERTIFICATE OF SERVICE


        I hereby certify that on November 9, 2023, I electronically filed the foregoing document
with the Clerk of Court using the CM/ECF system which will cause all parties or counsel of record
to be served by electronic means.


                                            /s/ Christopher Benoit
                                            Christopher Benoit
